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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           WAYCROSS DIVISION

OLIVIA COLEY-PEARSON,

              Plaintiff,
                                                   CIVIL ACTION
       v.
                                                                151
                                                   NO. 5:20-CV-____________

EMILY MISTY MARTIN et al.,

              Defendants.



            PLAINTIFF’S CERTIFICATE OF INTERESTED PERSONS
               AND CORPORATE DISCLOSURE STATEMENT

      In accordance with Local Rule 7.1 and Rule 7.1 of the Federal Rules of Civil

Procedure, Plaintiffs respectfully submit this certificate of interested persons and

corporate disclosure statement. Plaintiffs’ counsel will notify the Court of any

additions to or deletions from this certificate as required by Local Rule 3.3B.

      1.     The undersigned counsel for a party to this action certifies that the

following is a full and complete list of all parties in this action, including any

parent corporation and any publicly held corporation that owns ten percent or

more of the stock of a party:

                    PLAINTIFF:          Olivia Coley-Pearson

                    DEFENDANTS:         Emily Misty Martin
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                                       Joe Stewart

                                       Robert Sprinkle

                                       Shane Edmisten

                                       Coffee County, Georgia

                                       City of Douglas, Georgia

      2.     The undersigned further certifies that the following is a full and

complete list of all other persons, associations, firms, partnerships, or

corporations having either a financial interest in or other interest which could be

substantially affected by the outcome of this particular case:

                                       Law Offices of Gerry Weber, LLC

                                       Southern Center for Human Rights

      3.     The undersigned further certifies that the following is a full and

complete list of all persons serving as attorneys for the parties in this proceeding:

                   FOR PLAINTIFF:      Gerald Weber

                                       Mark Loudon-Brown

                                       Jeremy D. Cutting

                   FOR DEFENDANTS: (Unknown)

      Respectfully submitted, this 11th day of December, 2020.

                                       /s/ Gerald Weber
                                       Gerald Weber
                                       Georgia Bar No. 744878
                                       LAW OFFICES OF GERRY WEBER, LLC

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                             Mark Loudon-Brown*
                             Georgia Bar No. 410986
                             Jeremy D. Cutting*
                             Georgia Bar No. 947729
                             SOUTHERN CENTER FOR
                             HUMAN RIGHTS
                             60 Walton Street, NW
                             Atlanta, GA 30303
                             (404) 688-1202
                             mloudonbrown@schr.org

                             *Pro hac vice forthcoming

                             Counsel for Plaintiff




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                             CERTIFICATE OF SERVICE


      I certify that I served the foregoing upon counsel for all parties by United

States Mail and using the CM/ECF electronic filing system once counsel appears.


      DATED: This the 11th day of December, 2020.


                                             /s/ Gerald Weber
                                             Gerald Weber
                                             Georgia Bar No. 744878

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